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                                          UNITED STATES DISTRICT COURT
                                          SOUTHERN DISTRICT OF FLORIDA

  Isaaca Thorpe,

           Plaintiff(s),
                                                                                       CASE NO: 0:22-CV-60112-RNS
  v.

  ARS Account Resolution Services,

           Defendant(s),
                                      /
                                     NOTICE OF MEDIATION CONFERENCE

           NOTICE IS HEREBY GIVEN that a mediation conference in the above styled cause will take place at
  the time, date and place below:
           DATE:             September 9, 2022
           TIME:             10:00 am
           PLACE:            150 S. Pine Island Rd, Suite 300, Plantation, FL, 33324
           MEDIATOR:         Christopher E. Benjamin, Esq.
  The client or a representative of the client with full authority to settle, other than counsel should be present. If
  insurance is involved, a representative of the insurance company must be present with full settlement authority for
  up to the policy limits or the plaintiff's last demand, whichever is less. Pursuant to Rule 1.720(e), unless otherwise
  stipulated by the parties, each party, 10 days prior to appearing at a mediation conference, shall file with the court
  and serve all parties a written notice identifying the person or persons who will be attending the mediation
  conference as a party representative or as an insurance carrier representative, and confirming that those persons have
  the required authority.
  A total of 4 hours has been set aside for this mediation. If more time is anticipated, please notify the
  mediator's office immediately. A cancellation fee will be charged, as set forth in the attached Mediation
  Engagement Agreement, if the mediation is canceled less than 72 hours prior to the scheduled conference date.
  Do not assume that the other side has notified us of a change or cancellation. Please call or e-mail our office.
  All parties acknowledge that the mediation conference, as well as all pre-mediation and post-mediation
  communications, constitute privileged and confidential communication between those present at the mediation
  conference as set forth in Chapter 44, Florida Statutes. All parties further acknowledge that the mediator is a neutral
  and may not act as an advocate for any party.
  In accordance with the Americans with Disabilities Act of 1990, all persons who are disabled and who need special
  accommodations to participate in this proceeding because of that disability should contact our not later than twenty-
  one (21) business days prior to the mediation conference.

                                                                  Respectfully Submitted:

                                                                  s/ John W. Salmon, Esq
                                                                  Florida Bar No: 271756
                                                                  john@sd-adr.com, martha@sd-adr.com
                                                                  Salmon & Dulberg Dispute Resolution
                                                                  sd-adr.com
                                                                  Phone: 305-371-5490
  Copies furnished to: All Counsel of Record
